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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

Dry Enterprises, Inc., et al.,               )
                                             )
                        Plaintiffs,          )
                                             )
         vs.                                 )         No. 07 C 1657
                                             )
Sunjut AS, et al.,                           )         Judge Kendall
                                             )
                        Defendants.          )         Magistrate Judge Cole
                                             )
                                             )
Sunjut AS, et al.,                           )
                                             )
                 Counter-Plaintiffs,         )
                                             )
         vs.                                 )
                                             )
Dry Enterprises, Inc., et al.,               )
                                             )
                 Counter-Defendants.         )

          PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANT CINAR’S
                   MOTION TO DISMISS COUNTS V, VI AND VII

         In their Complaint, Plaintiffs Dry Enterprises, Inc., Sunpack Pacific, LLC, Steven E. Dry,

and Hakan Hazneci, (collectively “Dry”) bring, among other things, claims of Defamation

(Count VII), Tortious Interference with Prospective Economic Advantage (Count V), and

Interference with Contract (Count VI) against Defendants including Yasemin Cinar (“Cinar”).

Plaintiffs sued Cinar because she made false and injurious statements to Plaintiffs’ customers

and suppliers about Dry. Because Plaintiffs have validly stated claims upon which relief can be

granted, this Court should deny Cinar’s motion to dismiss those claims and require Cinar to

answer the Complaint. Cinar’s motion to dismiss fails for two reasons. First, Plaintiffs have

adequately pleaded a claim for defamation. Contrary to Cinar’s assertion, Plaintiffs’ Complaint

identifies with sufficient specificity Cinar’s defamatory statements to Dry suppliers and


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customers. Plaintiffs’ allegations leave no room for legitimate doubt about the nature of Dry’s

claim and are more than sufficient to enable Cinar to formulate a responsive pleading. Second,

in asserting that Dry has failed to plead a claim for tortious interference with prospective

business relations and current contractual relations because Cinar’s defamatory statements were

directed at Sunjut’s European branches and not a third party, Cinar ignores Plaintiffs have

alleged that (1) Cinar made false statements to Dry customers and suppliers outside Sunjut and

(2) the requirement that the interference must be directed to a third party simply means that the

acts must be aimed at parties other than Dry. Because Dry has sufficiently pled that Cinar

intentionally interfered with Dry’s legitimate business expectations, Dry has stated a claim, and

this Court should deny Cinar’s motion to dismiss in its entirety.

                                           Background

         In late 2006, the business relationship between Dry and Sunjut A.S. soured when

Defendants – including Sunjut A.S. Sales Director Yasemin Cinar – began engaging in a course

of conduct designed to irreparably damage Dry’s business. Defendants’ unlawful conduct

included a tirade of false and defamatory remarks and emails to Plaintiffs’ long term suppliers

and customers in an effort to cause harm to Plaintiffs and usurp customers. (Complaint ¶¶ 97,

100-102). Cinar also contacted Sunjut A.S.’s branch offices in Europe to tell them to no longer

provide assistance to Dry. (Complaint ¶105). She did so to harm Plaintiffs and to divert

business from Dry to Sunjut A.S. (Complaint ¶106). Despite repeatedly asking Cinar and other

Defendants to cease their misconduct, Defendants refused, and the instant lawsuit ensued.

         On March 23, 2007, Plaintiffs filed a seven-count Complaint against Cinar and other

Defendants alleging, among other things, Tortious Interference with Prospective Economic

Advantage (Count V), Interference with Contract (Count VI), and Defamation (Count VII). The


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Complaint details the defamatory statements made by Cinar and other Defendants. By making

those false and disparaging remarks, Cinar impugned Dry’s business integrity and reputation,

defamed Dry and tortiously interfered with Dry’s prospective and contractual business relations.

                                              Argument

         This Court should deny Cinar’s motion to dismiss because Plaintiffs have adequately

pleaded that Cinar defamed Dry and tortiously interfered with Dry’s prospective business and

current contractual relations.

         The crux of Cinar’s argument, that Dry has failed to allege sufficient facts to support its

claims is simply untrue. Plaintiffs have pleaded claims and included sufficient facts in their

Complaint to meet liberal Federal notice pleading standards:

         Federal complaints plead claims rather than facts. The appendix to the Rules of
         Civil Procedure contains models that illustrate the short and simple allegations
         that Fed. R. Civ. P. 8(a) calls for. It is enough to name the plaintiff and the
         defendant, state the nature of the grievance, and give a few tidbits (such as the
         date) that will let the defendant investigate. A full narrative is unnecessary.
         Details come later, usually after discovery….

Kolupa v. Roselle Park Dist., 438 F.3d 713, 714 (7th Cir. 2006).

         In ruling on a motion to dismiss brought pursuant to Rule 12(b)(6), the court must draw

all reasonable inferences that favor the plaintiff, construe the allegations of the complaint in the

light most favorable to the plaintiff, and accept as true all well-pleaded facts and allegations in

the complaint. Thompson v. Illinois Dep’t of Prof’l Regulation, 300 F.3d 750, 753 (7th Cir.

2002). “Whether a complaint sufficiently states a claim turns on whether it meets the general

rules of pleading a claim for relief. Rule 8(a)(2) . . . requires that a complaint contain ‘a short

and plain statement of the claim showing the pleader is entitled to relief.’” Brown v. Budz, 398

F.3d 904, 908 (7th Cir. 2005) (quoting Fed. R. Civ. P. 8(a)(2) and reversing dismissal of action).

Thus, “[a] complaint states a claim on which relief may be granted whether or not some defense

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is potentially available. This is why complaints need not anticipate and attempt to plead around

defenses.” United States v. Northern Trust Co., 372 F.3d 886, 888 (7th Cir. 2004).

         In all these respects, and as the Supreme Court recently ruled in Bell Atlantic Corp. v.

Twombly, --- U.S. ----, 127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007):

         While a complaint attacked by a Rule 12(b)(6) motion to dismiss does not need
         detailed factual allegations, a plaintiff’s obligation to provide the “grounds” of his
         “entitlement to relief” requires more than labels and conclusions, and a formulaic
         recitation of the elements of a cause of action will not do. Factual allegations must
         be enough to raise a right to relief above the speculative level, on the assumption
         that all the allegations in the complaint are true (even if doubtful in fact).

Id. at 1964-65, 167 L. Ed. 2d at 940 (citations omitted and emphasis added); see Machinery

Movers v. Nationwide Life Ins. Co., No. 03 C 8707, 2006 U.S. Dist. LEXIS 77404, at *12 (N.D.

Ill. Oct. 10, 2006) (Kendall, J.) (“When considering a motion under Rule 12(b)(6), a court must

take as true all facts alleged in the complaint, and construe all reasonable inferences in favor of

the plaintiff.”); see, e.g., Powell v. Omeke, No. 06 C 5940, 2007 U.S. Dist. LEXIS 37545, at *4

(N.D. Ill. May 21, 2007) (denying motion to dismiss where “the complaint articulates a

colorable—if borderline—. . . cause of action”). In sum, under Twombly, the Supreme Court

now requires of a plaintiff “only enough facts to state a claim to relief that is plausible on its

face.” Id. at 1974, 167 L. Ed. 2d 949. Plaintiffs have more than satisfied this standard for its

defamation and tortious interference claims, and this Court should deny Cinar’s motion in its

entirety.

         I.      Dry Has Stated a Claim for Defamation Against Cinar.

         Cinar asserts that Plaintiffs’ defamation claim (Count VII) against her fails because their

allegations do not satisfy the federal pleading requirements. This is wrong. At this early stage of

the proceedings, Plaintiffs’ allegations provide Cinar with adequate notice of the defamation

claims against her such that she can answer the Complaint. To adequately plead their defamation

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claim, Plaintiffs needed only to state the substance of the statements Cinar made, as the “exact

details of the exchange may be discerned through discovery.” Chisholm v. Foothill Capital

Corp., 940 F. Supp. 1273, 1285 (N.D. Ill. 1996). Indeed, all that is necessary at this stage is that

Cinar be able to understand the nature of the claim and be able to file a responsive pleading.

Wilton Partners III LLC v. Gallagher, No. 03 C 1519, 2003 U.S. Dist. LEXIS 21899, at *16

(N.D. Ill. 2003). Plaintiffs have identified the individuals who made the statements (Cinar), to

whom they were made (Dry’s customers and suppliers), when they were made (in late 2006) and

the context in which they were made (in the context of destroying Dry’s business relationships

with its long term suppliers and customers in an effort to cause harm to Dry and usurp

customers). Under the law in this district, that is all Plaintiffs were required to plead. See e.g.,

Guy v. Illinois, 958 F. Supp. 1300, 1311-12 (N.D. Ill. 1997) (plaintiffs stated defamation claim

because complaint “sufficiently allege[d] the substance of defendants’ statements”); Landmark

Document Servs., LLC v. Omega Litig. Solutions, LLC, No. 05 C 7300, 2006 U.S. Dist. LEXIS

71211, at *9-10 (N.D. Ill. September 29, 2006) (denying motion to dismiss defamation claim

where complaint “identifie[d] the type of statements made, and describe[d] the third parties to

whom the statements were made with enough detail to put Defendants on notice of nature of

Plaintiff’s claim”).

         Contrary to Cinar’s suggestion that Plaintiffs’ complaint had to set forth Cinar’s

defamatory statements verbatim, numerous courts in this district have held that a Federal

complaint need not quote defamatory language. See Wilton Partners, 2003 U.S. Dist. LEXIS

21899, at * 16 (“defamatory language need not be quoted verbatim. Rather, an allegation is

sufficiently specific if it allows the defendant to understand the nature of the claim and form a

responsive pleading”); Chisholm, 940 F. Supp. at 1284 (“Courts in this district ... have held that


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the defamatory language need not be quoted verbatim”); Guy, 958 F. Supp. at 1311 (same);

Cozzi v. Pepsi-Cola Gen. Bottlers, No. 96 C 7228,1997 U.S. Dist. LEXIS 7755, at *17 (N.D. Ill.

May 30, 1997) (same). Indeed, “[w]ithout the benefit of discovery, it is not necessary for

[plaintiffs] to state precisely who said what to whom.” Socorro v. IMI Data Search, Inc., No. 02

C 8120, 2003 U.S. Dist. LEXIS 7400, at *7 (N.D. Ill. April 28, 2003) (denying motion to dismiss

defamation claim and noting that verbatim pleading is not required).

         Defendant Cinar primarily relies on Levitt v. S.C. Food Service, Inc., 820 F. Supp. 366

(N.D. Ill. 1993) to support her argument that Plaintiffs allegations are not sufficient to state a

claim for defamation. The facts of Levitt, however, are distinguishable. In Levitt, the defendant

employer brought a counterclaim against the plaintiff, alleging defamation per se, due to a line

on plaintiff’s resume stating that “new management led to the dismissal of non-Oriental

employees.” Levitt, 820 F. Supp. at 367. In its counterclaim, however, instead of repeating this

statement, Defendant simply alleged that the plaintiff “reiterated said accusation identified in

paragraph 7 to some or all of the companies with whom [plaintiff] interviewed.” Id. at 368. In

granting plaintiff’s motion to dismiss defendant’s defamation counter-claim, the court held that

defendant failed to allege the substance of the defamatory statement, and that a vague reference

to allegations set forth elsewhere in the Complaint was not sufficient. Id.

         The two additional cases Cinar cites are also distinguishable. In Woodard v. American

Family Mut. Ins. Co., 950 F. Supp. 1382, 1388 (N.D. Ill. 1997), defendants moved to dismiss the

defamation claim because plaintiffs wholly failed to identify libelous material. Significantly,

plaintiffs did not even oppose the motion to dismiss. Id. Similarly, in Seaphus v. Lilly, 691 F.

Supp. 127, 134 (N.D. Ill. 1988), the Court dismissed plaintiff’s defamation claim because he




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failed to submit any description whatsoever of the derogatory comments that the defendants

allegedly made.

         Unlike the allegations in Levitt, Seaphus, and Woodard, Plaintiffs in this case clearly

alleged the substance of Cinar’s defamatory statements in their Complaint. In their Complaint,

Plaintiffs alleged that Cinar and her co-defendants directed a tirade of false and defamatory

remarks and emails to Plaintiffs’ long term suppliers and customers in an effort to cause harm to

Plaintiffs and usurp customers. (Complaint ¶¶ 97, 100-102). In addition, Plaintiffs allege Cinar

contacted Sunjut A.S.’s branch offices in Europe to tell them to no longer provide Plaintiffs with

assistance to harm Plaintiffs and to divert business from Dry to Sunjut A.S. (Complaint ¶105-

06). In Count VII of the Complaint, Plaintiffs also allege “Defendants have falsely stated that

[Plaintiffs] have acted unlawfully towards Sunjut A.S., and that Steven Dry and Hazneci have

stolen from Sunjut A.S., and that [they] have acted for greed or for personal benefit against

Sunjut A.S.” (Complaint ¶152). Finally, Plaintiffs allege that Defendants “falsely stated that

Sunpack Pacific is attempting to divert business from Sunjut A.S. to Sunpack Pacific.”

(Complaint ¶153). Accordingly, Cinar’s reliance on the three decisions she cites is misplaced

because those cases did not involve complaints as thorough as the one in this case.

         Apparently recognizing that the Complaint identifies Cinar’s defamatory statements with

sufficient specificity, Cinar suggests that Plaintiffs’ Complaint is deficient because it only refers

to her in two paragraphs (Complaint ¶105-106). This argument improperly ignores Plaintiffs’

detailed allegations against Cinar set forth elsewhere (and incorporated into each Count) in the

Complaint. When analyzing a Complaint, courts consider the complaint as a whole (including

facts alleged in other parts of the complaint) in deciding whether any particular count survives a

Rule 12(b)(6) motion. See Siakpere v. Boucher, No. 84 C 6768, 1986 U.S. Dist. LEXIS 25878,


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at *12, *16 (N.D. Ill. May 5, 1986) (recognizing that “under the liberal standards embodied in

the Federal Rules of Civil Procedure, the court should consider all parts of a complaint when

searching for the particulars needed to plead a claim for relief” and denying a motion to dismiss

where, viewing plaintiff’s “complaint as a whole under the ‘notice pleading’ principles of the

federal rules, the defendant has fair notice of the plaintiff’s claim”). Furthermore, incorporation

by reference is permissible under the federal rules, see Siakpere, 1986 U.S. Dist. LEXIS 25878,

at *16, and Cinar does not (and cannot) contend otherwise. Thus, Plaintiffs’ defamation

allegations are more than specific enough to permit Cinar to “understand the specific nature of

the claim and form a responsive pleading,” which is all that the Federal Rules require. Socorro,

2003 U.S. Dist. LEXIS 7400, at *7. Accordingly, Cinar’s motion should be denied in its

entirety.

         II.     Plaintiffs Have Stated Claims For Tortious Interference With Prospective
                 Economic Advantage And Contractual Relations.

         Defendant Cinar next argues that Plaintiffs have failed to state a claim for both tortious

interference with prospective economic advantage (Count V) and tortious interference with

contractual relations (Count VI). To state a claim for tortious interference with prospective

economic advantage, a plaintiff must allege: “(1) a reasonable expectation of entering into a

valid business relationship; (2) defendants’ knowledge of this expectation; (3) defendants’

purposeful interference that prevents the plaintiff’s legitimate expectation from becoming a valid

business relationship; and (4) damages.” Cody v. Harris, 409 F.3d 853, 859 (7th Cir. 2005)

(citing Fellhauer v. City of Geneva, 142 Ill. 2d 495, 568 N.E.2d 870, 878 (1991)). The elements

for showing tortuous interference with contractual relations are similar. See HPI Health Care

Services, Inc. v. Mt. Vernon Hosp., Inc., 131 Ill. 2d 145, 545 N.E. 2d 672, 676 (Ill. 1989).



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         Cinar does not dispute that Plaintiffs have alleged the first, second and fourth elements.

The only issue before the Court is whether Plaintiffs have pleaded sufficient facts to make out

the third element of interference. In this respect, Cinar asserts that Plaintiffs’ Complaint is faulty

because they have failed to allege that Cinar’s acts were directed at a third party since Sunjut’s

European branches are not third parties for purposes of tortious interference.

         Cinar’s argument is without merit. Though conveniently ignored by Cinar, Plaintiffs

have alleged that she made disparaging remarks about Dry to entities completely separate and

apart from Sunjut A.S. As previously explained, Plaintiffs alleged that Cinar defamed Dry with

its long term suppliers and customers to harm Plaintiffs and usurp customers. (Complaint ¶¶ 97,

100-102). These allegations are sufficient to make out the third element of interference all on

their own. Put plainly, Plaintiffs have alleged that Cinar published her defamatory comments

about Dry to third parties. Thus, Cinar’s motion to dismiss should be denied in its entirety.

         In any event, even if the Court found that Plaintiffs only alleged Cinar defamed Plaintiffs

with Sunjut’s European branches, Plaintiffs still meet the requirements for tortious interference.

The requirement that the interference must be directed to a third party simply means that the acts

must be aimed at parties other than the plaintiff. See Skopp v. First Federal Savings, 189 Ill.

App. 3d 440, 545 N.E.2d 356, 362 (1st Dist. 1989) (“[i]nducement to breach a contract involves

acts aimed at third parties other than the plaintiff which cause those parties to breach a contract

held by the plaintiff”). Here, although Cinar is the Sales Director for Sunjut A.S., her

employment with the Company does not render her a party to the contract between Plaintiffs and

Sunjut A.S.’s European branch offices. Therefore, Cinar’s statements were directed to a third

party, namely, the European Branch offices of Sunjut A.S.




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         Cinar tries to avoid this result by citing Fuller v. Chicago College of Osteopathic

Medicine, 719 F.2d 1326, 1331 (7th Cir. 1983), where the Seventh Circuit held that corporate

officers were not outsiders for the purposes of tortuous interference. But that case is inapplicable

here because Cinar is not a corporate officer, but is merely a sales agent. Furthermore, Cinar

does not hold a policy making position. Therefore, she is not privileged to act on behalf of the

corporation. Cf. Id. (“[s]ince officers hold policy-making positions, their freedom of action

aimed toward corporate benefit should not be curtailed by fear of personal liability”). This

conclusion is consistent with what one would expect: if all employees of a corporation were

excluded from the definition of “outsider,” there would have been no need for the courts to carve

out a “corporate officer” exception. Therefore, because Defendant Cinar’s intentional and

unjustifiable interference with Plaintiffs’ business relations was in fact directed to a third party,

Plaintiffs have alleged facts sufficient to support a cause of action for both tortious interference

with prospective economic advantage and tortious interference with contract.

                                             Conclusion

         The Defendant has failed in her burden to show that the Plaintiffs did not allege enough

facts to raise a right to relief above the speculative level. Accordingly, Plaintiffs respectfully

request that this Court deny Defendant’s Motion to Dismiss Counts V, VI, and VII of Plaintiffs’

Complaint.

         DATED: June 26, 2007                      Respectfully submitted,

                                                   DRY ENTERPRISES, INC., SUNPACK
                                                   PACIFIC, LLC, STEVEN E. DRY, AND
                                                   HAKAN HAZNECI,



                                                   By____s/Frank A. Bear__________________
                                                              One of their Attorneys

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Daniel F. Lanciloti
Frank A. Bear
SEYFARTH SHAW LLP
131 South Dearborn Street
Suite 2400
Chicago, Illinois 60603
(312) 460-5000




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                                  CERTIFICATE OF SERVICE

         I, Frank A. Bear, an attorney, do hereby certify that I have caused a true and correct copy

of the foregoing Plaintiffs’ Response In Opposition To Cinar’s Motion To Dismiss Counts V,

VI, and VII, to be served on the following via the electronic filing system which will send notice

of this filing to:

                               William J. Holloway
                               Michael J. Leech
                               Kourtney A. Mulcahy
                               Evan D. Brown
                               HINSHAW & CULBERTSON LLP
                               222 North LaSalle Street
                               Chicago, Illinois 60601-1081



                                                           ___s/Frank A. Bear_________________




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